 

‘: I"\ i,"i'i`ilrl\,»' \/Otii i',';fi‘i.i" ' 09/27/18 Page 1 Of 46

  

Uniled States Bankniptcy Couri ior the:
Dlstrlct of Maiyland

 

 

Case number (lf known): Chapier you are liling under:
Chapter 7
chaptern §§H gm §§ 52
Chapier12 ~r) h q¢:ii:r?z?c did §_-:_; ,
Chamer 13 \_,i .?i. §1‘ §‘§i~§` ;` § iii ;`»»§\Qbeckrlr this is an
, §§S’§Rl §ZN:,E§M§-`§hamended ming

.4 / ll i`\ v b / Jr
oiiiciai i=orm 101 TS`L 5;)@“/ dfl’/l/@§ 2455Ll/
Vo|untary Petition for individuals Filian for Bankruptcy 12,1.,

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a joint case-and ln joint
cases, these forms use you to ask for intormation from both debtors. For example, if a form asks, “Do you own a car," the answer would be yes ii either debtor owns
acar. When information is nmed about the spouses separater the form uses Debtor 1 and Debtor2to distinguish between them. in joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtorz The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as powble. If two married people are filing together, both are equally responsible for supplying correct lnformation. lf more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

identify Yourse|f

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

Vour tull name
Wn'te the name that is on your La_u|
govemment-issued picture Firsl name Firsi name
identification (for examp|e, your

ri ’ l' nse or .
d vers me passpon) Middle name Middle name
Bring your picture identification to Turner
your meeting with the trusteel Lasi name i_as§ name

All other names you have used

 

Sufi"lx (Sr., Jr, ||, ||I)

 

Suffix (Sr., Jr, |l, |I|)

 

 

 

 

 

 

 

 

 

 

 

 

m me bet 8 \ First name Firsl name
include your married or maiden
"M~ Middie name Middie name
Last name Last name
First name First name
Middle name Middle name
Last name Last name
Only the last 4 digits of your _ _ _ _
SoclalSecuritynumberor m xx -o~' 8 i-g- xxx xx _ _ _" '_
federal individual Taxpayer OR OFl
identification number gxx_xx__ __ _ __ w_xx____ _ _ __
t ,,G“N) § ‘
Oihcial Form 101 Vo|untary Petltion for individuals Filing for Bankruptcy page 1

 

 

Debtor 1 Paul

First Name

4. Any business names and
Employer identification
Numbers (ElN) you have used
in the last 8 years

lncludetradenamesanddoi'ng
businessesnames

5. Where you live

6. Why you are choosing this
district to tile for bankruptcy

0ilicial Form 101

Case 18-22793 Doc 1
Turner

 

Middle Name Last Name

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Case number (if known)

 

 

 

 

About Debtor 1:

w l have not used any business names or E|Ns.

Business name

About Detrtor 2 (Spouse Only in a Joim Case):

‘lf' ,~ if

c

l;ll have not used a§y bmss names or Ele.

L»‘s-r- /-?"`i tie
Business name

 

Business name

Business name

 

 

 

 

ElN ElN
J_ ___""_“"_ E§_ __"'_'__'_
ltDebtor2lives atadifterent address:
1009 woodboume ave
Number S“eei Number Street
M
city State ZlP Code city Siaie ziP code
, """" y , v -
1 :,¢_ 4 \
l ;'L.\\ K mimde §)A..J
County l Gounty

if your mailing address is different from the one above, fill
it in here. Note that the court will send any notices to you at
this mailing address

li Debtor 2's mailing address is different from the one
above, fill it in here. Note that the court will send any notices
to you at this mailing address.

 

 

 

Number Street Number Streei

P.O. Box P.O. Box

City State ZlP Code City State ZlP Code
Check one: Check one:

Over the last 180 days before iling this petition, | have
lived in this district longer than in any other district

n lhave another reason. Exp|ain.
(See 28 U.S.C. § 1408)

 

 

 

 

Vo|untary Petition for |ndividuals Filing for Bankruptcy

D over the ieei 180 days before filing this peiiiion, i have
lived in this district longer than in any other district

n l have another reason. Exp|ain.
(See 28 u.S.c. § 1408)

 

 

 

 

lJaQ€2

 

 

Debtor1 Paui Case 18-227931'.,erC 1 Filed 09/27/18 Paqgs§ngrpb§r§i,known)

First Name Middle Name Last Name

 

Tell the Court About Your Bankruptcy Case

 

, Check one. (For a brief description of each, see Noti'ce Required by 11 U.S.C. § 342(b) for Indivi`duals Filing for Bankruptcy
f 7~ The chapter °f the Bankruptcy (Forrn B2010)). A|sol go to the top of page 1 and check the appropriate box.

 

 

Code you are choosing to file
under n Chapter 7
n Chapter 11
n Chapter 12
m Chapter 13
s. How you will pay the fee n l will pay the entire fee when |fiie my petition. Please check with the clerk's office in your local court for more details

about how you may pay. Typica|ly, if you are paying the fee yourself, you may pay with cash, cashier‘s check, or money
order. if your atlomey is submitting your paymem on your behati, your attorney may pay with a credit card or check with
a pre-printed address.

L_.l l need to pay the fee in installments if you choose this cption, sign and attach the App/icatibn for Indivi`duals to Pay
Your Filing Fee in Installments (Official Form 103A).

n l request that my fee be waived (Ycu may request this option only if you are filing for Chapter 7. By law, ajudge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
that applies to your family size and you are unable to pay the fee in installments). if you choose this option, you must fill
out the Application to Have the Chapter 7Filing Fee Wai`ved(Oflicial Form 1038) and tile it with your petition

 

 

 

 

 

 

 

 

 

 

 

 

 

 

w No.
§ 9. Have you filed for bankruptcy
Wifhin the last B yeal‘S? DYGS. Dis§ric§ When Case number
MM / DD / YYYY
District When Case number
MM / DD / YYYY
District When Case number
MM / DD / YYYY
, m No.
1 10. Are any bankruptcy cases
pendan °l’ bean f"ed by a DYeS- Debtor Fte|ationship to you
spouse who is not filing this
case with you, or by a business District When Case number, if known
pai’fl‘ler, or by ah affiliate? MM / DD / YyYy
Debtor Fielationship to you
District Vwien Case number, if known
MM / DD / YYYY

 

 

Ell No. co io line 12.
11. Do you rent your residence?
m Yes. Has your landlord obtained an eviction judgment against you?

[_'] No. coin line 12.

n Ves. Fill out initial StatementAbouta/i Evi`ctibn Judgment Agm`nst You (Forrn 101A) and file it as pari
, d this *?_S'?'<,NPi¢¥ Peili@€‘< ,_ c

 

Ofticial Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 3

 

 

 

 

 

 

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e|’

 

 

 

 

 

 

 

Deb‘°' 1 Pa"' Case number (if known)
First Name Middle Name Last Name
'1'=: Report About Any Businesses You 0wn as a So|e Proprietor
w No. se id Pan 4.
1 2. Are you a sole proprietor of any
full- or part-time business? [] Yes. Name and locatbn of business
A sole proprietorship is a business
you operate 33 an individual. and iS Name cf business, if any
not a separate legal entity such as
a corporation, partnership, or LLC.
Number Street
ltyou have rrlorethanonesole
proprietorship use a separate
sheet and attach it to this petition
City State ZlP Code
Check the appropriate box to describe your business:
[J Healm care Bueinees las defined in 11 u.s.o. § 101 (27A»
C] Single Assei neel Esiaie las defined in 11 u.s.o. § 101(5113»
n Stockbroker(as defined in 11 U.S.C. § 101(53A))
E] Commodiiy Broker las delined in 11 u.s.o. § 101(6»
n Ncne cf the above
ll you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
13~ Are Y°“ ming under chapter 1 1 deadlines if you indicate that you are a small business debior, you must attach your most recent balance sheel, statement cf

 

l 14.

°f me Bankruptcy Code and are operations cash-flow statement and federal income tax retum or if any cf these documents do not exist, follow the procedure in
you a small business debtor'? 11 U_S_C_ § 1116(1)(3)_

FO" a denman of Sma” busin%$ m No. | am not filing under Chapter 11.
debtor. see 11 U.S.C. § 101(51D),
No. l am filing under Chapter 11, but | am NOT a small business debtor according to the definition in the
Bankruptcy Oode.

n Yes. | am filing under Chapter 11 and l am a small business debtor according to the definition in the Bankniptcy
Code.

': Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

M Nd.
Do you own or have any
property that poses or is l;l Yes. What is the hazard?
alleged to pose a threat of
imminent and identifiable
hazard to public health or
safety? Or do you own any

Propertv that needs immediate ii immediate anemion le needed, why is il needed?
attention?

 

 

 

 

For example, do you own

perishable goods, or livestock that

must be fed, ora building that Where .S me 9
needs urgent repairs? ' propeny'

 

Number Street

 

 

City State ZlP Code

 

Oflicia| Form 101 Vo|untary Petition for individuals Filing for Bankruptcy mt

 

Case 18-22793 TuDQC 1

Middle Name Last Name

Debt0r1 Paui

First Name

Filed 09/27/18 Pag@a§gu‘m§§(,-,k,,ow,,)

 

-Exp|ain Your Efforts to Fteceive a Briefing About Credit Counseling

15. Tell the court whether you About Debtor 1: About Debtior 2 (Spouse Only in a Joint Case):
have received a briefing
about credit counseling.
The law requires that yOU Yo usf check one: You must check one:
receive a briefing about credit
mmse|ing before you me for l received a briefing from an approved credit counseling m l received a briefing from an approved credit counseling
bania'upt.y. You must truthfully agency within the 180 before l filed this bankruptcy petition, agency within the 180 before i filed this bankruptcy petition,
Cheok one of the following and l received a certificate of completion. and l received a certificate of completion.

choices. ll you cannot do so, you
are not eligible to file.

li you tile anyway the court can
dismiss your case. you will lose
whatever hling fee you paid, and
your creditors can begin
collection activities again.

Giiicial Form 101

Attach a copy of the certificate and the payment pian, if
any, that you developed with the agency

l;l l received a briefing from an approved credit counseling
agency within the 180 days before l filed this bankruptcy
petition, but i do not have a certificate of completionl

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any

Ei l eenily that l asked for credit counseling services from an
approved agency, but was unable to obtain those services
during the 7 days after i made my request, and exigent
circumstances merit a 30-day temporary waiver of the
requirement

To ask for a 130-day temporary waiver of the requirement
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy

if the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file.

You must file a certificate from the approved agency
along with a copy of the payment plan you developed, if
any if you do not do so, your case may be dismissed

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

El l am net required w receive a briefing about credit
counseling because of:

m incapacity l have a mental illness or a mental
deficiency that makes me incapable
of realizing or making rational
decisions about finances.

[] pisabiiily. My physical disability causes me lo
be unable to participate in a briefing
in person, by phone, or through the

internet, even after l reasonably tried

to do so.

[;l Active duty. lam currently on active military duty in
a military combat zone.

if you believe you are not required lo receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency

l received a briefing from an approved credit counseling
agency within the 180 days before i filed this bankruptcy
petition, but | do not have a certificate of oompletion.

Wiihin 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any

i certify that l asked for credit counseling services from an
approved agency but was unable to obtain those services
during the 7 days after i made my request, and exigent
circumstances merit a 140-day temporary waiver of the
requirement

To ask for a 30~day temporary waiver of the requirement
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy

if the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you h|e.

You must file a certificate from the approved agency
along with a copy of the payment plan you developed, if
any lf you do not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

l am not mquired to receive a briefing about credit
counseling because of:

m incapacity l have a mental illness ora mental
deficiency that makes me incapable
of realizing or making rational
decisions about finances

E] olsabiliiy. lviy physical disability causes mere
be unable to participate in a briefing
in person, by phone, or through the

internet, even after l reasonably tried

to do so.

U Active duty. | am currently on active military duty in
a military combat zone.

if you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the courl.

 

 

 

Vo|untary Peti'tion for lndividuals Filing for Bankruptcy

page 5

 

 

Case 18-22793 Doc 1 Fi|ecl 09/27/18 Page 6 of 46
Debtor 1 Paul Turner Case number (if known)
First Name Middle Name Last Name

-Answer These Questions for Reporting Purposes

v 16a Are your debts primarily consumer debts? Consumerdebis are detined in 11 U.S.C. § 101(8) as “incurred by
` 16~ What kind °" deth d° Y°u an individual primarily fora personal, tamily, or household purpose."

have?
El No. Go to line 16b.

5a Yes. Go to line 17.

16b. Areyour debts primarily business debis? Business debts are debts that you incurred to obtain money for a
business or investment or through the operation ot the business or investmerltl

El No. Go io line ieo.

L_.\ Yes. Go to line 17.

160. State the type ot debts you owe that are not consumer debts or business debts.

 

17. Are you filing under Chapter 7? g No. | am not filing under Chapter 7. Go to line 18.

D° you mmate mm after any n Yes. l am tiling under Chapter 7. Do you estimate that after any exempt property is excluded and administrative

 

 

 

 

 

 

 

 

 

exempt P"°Pe"\y is excluded expenses are paid that funds will be available to distribute to unsecured creditors?
and administrative expenses
are paid ihai funds will be El No
available for distribution to
unsecured creditors? n YSS
M 1-49 C| 5099 El i,ooos,ooo Cl 5,001-10,000 Cl 25,00160,000 El 50,00<>100,000
18- How many creditorsdovou E| iooiss El 200999 Cl 10,001-25,000 Cl lvlore man 100,000
estimate fha V°“ °‘”°? , , , , t t t t _
o D $o$so,ooo El $1,000,001-$10 million [l $500,000.001-$1 billion
y 19- H°w much do Y°u estimate L_.l $50,001-$100,000 El $10,000,001-$50 million El $1,000,000,001-$10 billion
our assets to be worth?
y w $100,001-$500,000 El sso,ooo,ooisioo million El $10,000,000.001-$50 billion
El $500,001-$1 million El $100,000,001-$500 million El More than $50 billion
C| $0$50,000 Cl $1,000,001-$10 million U $500,000,001-$1 billion
20. How much do you estimate El $50,001-$100,000 Cl $10,000,001-$50 million E] $1,000,000,001-$10 billion
‘ our liabilities to be?
y M $100,001-$500,000 E| $50,000,001-$100 million ill $10,000,000,001MO billion
El $500,001-$1 million El $100,000,001-$500 million El More than $50 billion

, For you l have examined this petition, and l declare under penalty ot perjury that the information provided is tme and correct

ti | have chosen to tile under Chapter 7, | am aware that | may proceed, it eligibte, under Chapter 7, 11 ,12, or 13 ot title 11, United States
Code. l understand the relief available under each chapter, and | choose to proceed under Chapter 7.

lf no attorney represents rrle and | did not pay or agree to pay someone who is not an attomey to help me till out this document l have
obtained and read the notice required by 11 U.S.C. § 342(b).

l request reliel in accordance with the chapter ot title 11, United States Code, specitied in this petition.
| understand making a false staternent. concealing property, or obtaining money or property by fraud in connection with a bankruptcy case

mn result in time up to $250?»%@0 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
X /S/ Paul Turner _ ,.»~»‘““"""
Paul Tumer, D'éb"i€?'©
Exewied on M_ML__
Mlvl/ DD/ YVYY

 

Ofiicial Form 101 Vo|untary Petition for Individuals Filing for Bankruptcy m 6

 

M, m Caso18-22793 T,p,ooi Filool 09/27/18 Pag@a;eojm%g(,.,kmwn)

First Name

For you it you are filing this
bankruptcy without an attorney

if you are reprewnted by an attorney
you do not need to tile this page.

Oilicial Form 101

 

Middle Name Last Name

The law allows you, as an individual, to represent yourself in banknlptcy court, but you should understand that many people
find it extremely difficult to represent themselves successfully Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney

Tc be successful, you must correctly tile and handle your bankruptcy case. The rules are very technical, and a mistake or
inaction may affect your rights. For example, your case may be dismissed because you did not file a required document, pay a
fee on time, attend a meeting or hearing, or cooperate with the court, case tmstee, U.S. trustee, bankruptcy administrator, or
audit firm if your case is selected for audil. if that happens, you could lose your right to file another cese, or you may lose
protectionsl including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the court. Even if you plan to pay a
particular debt outside of your bankniptcy, you must list that debt in your schedules if you do not list a debt, the debt may not be `
discharged lf you do not list property or propeny claim it as exempt, you rrlay not be able to keep the property. The judge can
also deny you a discharge ct all your debts if you do something dishonest in your bankruptcy case, such as destroying or _
hiding property, falsifying records, cr iying. individual bankruptcy cases are randomly audited to determine if debtors have been ~
accurate, truthfu|, and complete. Bankruptcy fraud is a serious crime; you could be fined and imprisoned "

if you decide to file without an attorney, the court expects you to follow the rules as if you had hired an attorney. The court will not l
treat you differently because you are hling for yoursetf. To be successiul, you must be familiar with the United States

Bankruptcy Code, the Federal Fiules of Banknlptcy Procedure, and the local rules of the court in which your case is filed. You
must also be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?

n No
mYes

Are you aware that bankruptcy fraud is a serious crime and that if your banknlptcy forms are inaccurate or incomplete, you
could be hned or imprisoned?

n Nc
MYes

Did you pay or agree to pay someone who is not an attomey to help you fill out your bankruptcy forms?
n No

w Yes. Name ot person Evansl miles Xavier
Attach Bankruptcy Peii'iion Preparer's Notice, Dec/aration, and Signature (Otiicial Form 119).

By signing here, l acknowledge that i understand the risks involved in filing without an attorney. l have read and understood this '
notice, and l am aware that ming a bankruptcy case without an attorney may cause me to lose my rights or property if l do not
properly handle the case. ///”

X "§\E:/j

Daie 09/2620__]__________8
MNl/ DD/ YYYY

 

Contaci phone 443 536-4054 mci phone

 

 

Cell phone 443 536-4054 Cell phone

 

 

Emai| address marlbororidgeguestriancenter@gmail.com_:mai| address

 

 

Vo|untary Petition for individuals Filing for Bankruptcy page 7

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F§l§ in this lnicrl'l');iil:»n to li"l~'i\ilili`~»,i' your c

Debtor 1 Paul Turner
First Name Middle Name Last Name

Debtor 2
(Spouse, it filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Maryiand

case number El check innis is en
(if known) amended filing

 

 

Official Form 1068um

Summary of Your Assets and Liabilities and Certain Statisticai
information lens

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct information Fii| out all of your
schedules tirst; then compiete the information on this form. it you are filing amended schedules after you file your original torms, you must fill out a new Summary
andchecktheboxatthetopofthls page.

-Summarize Your Assets

 

€ 1. Schedule A/B: Pmperty(Official Form 106A/B)

 

 

 

1a. Copy line 55, Totai real estate, from ScheduieA/B ...........................................................................................................
1b copy line 62, Toial personal properly irom schedule A/B ................................................................................................ 105 030-00
1o. copy line 63, Toial oiall propenyon sohedu/eA/B ........................................................................................................... $1°5-030~°0

 

 

 

F;irt 21 Summarize Your Liabilities

? 2. Schedule D: Creditors Who Have Claims Secured by Property (Officiai Form 1060)

 

 

 

 

 

 

2a Copy the total you listed in Column A, Amount ofclaim, at the bottom cf the last page of Part 1 of Schedule D .......
y 3. Schedule E/F: Creditors Who Have Unsecured Claims (Officiai Form 106E/F)
3a Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F. .....................................
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6ij Schedule E/F. ................................ + 551 .07
Your total liabilities 771 .07 ,
msummarize Your income and Expenses
4. Schedule I: Yourlncome (Official Form 106|)
Copy your combined monthly income from line 12 of Schedule l .......................................................................................... ______w
5. Schedule J: Your Expenses (Ochial Form 106J)
copy your monthly expenses from line 22c of schedule J .................................................................................. §§ 092_00

 

Official Form 1068um Summary of Vour Assets and Liabiiities and Gertain Statisticai informadcn page 1 of 2

Case 18-22793 DOC 1 Fi|eci 09/27/18 Page 9 of 46
Debtor 1 Paul Turner Case number (if known)
First Name Middle Name Last Name

-Answer These Ouestions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
D No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

MYes

7. What kind of debt do you have?
w Vour debts are primarily consumer debts. Consumer debts are those ‘incurred by an individual primarily for a personal,
family, or household purpose." 11 U.S.C. § 101 (8). Fiil out lines 8-99 for statistical purposes 28 U.S.C. § 159.

n Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this ion'n to the court with your other schedules

 

'8. From the Smtement of Your Cunent Monthlylncomec Copy your total currem monthly income from Ofiicial
Form 122A-1 l_ineii;on, Form 1223 l_ine 11; or-l, Formizzc>i une14. ____M¢;

 

 

 

y 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

9a. Domestic support obligations (Copy line 6a.) @.00
9b. Taxes and certain other debts you owe the govemment. (Copy line Sb.) @.00
9c. Ctaims for death or personal injury while you were intoxicated (Copy line 60.) Y.OO
9d. Student loans. (Copy line Gf.) Y.OO
Qe.Obiigations arising out of a separation agreement or divorce that you did not report as priority @.00

claims. (Copy line 69.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + @_00

 

sg. Teial. Ado lines 9a through 9f. woo

 

 

 

 

 

Official Form 1068um Summary of Your Assets and Liabiiities and Ceriain Statisticai information page 2 of 2

Page 10 of 46

l;t{l tn the lnit:?ltm;tilolt to identity your goss alto thl<_; illingj;.
Debtor1 Paul
First Name Middle Name Last Name

Debtor 2
(Spousel it tillng) l=lrst Name Middle Name Last Name

 

United States Bankmptcy Court for the: District ct Maryiand

El check lt the ls art
Case number amended filing

 

 

Official Form 106A/B`
Schedule A/B: Property ,2,15

in each supply separawly list and describe items. List an asset only once. lf an asset fits in more than one category list the asset in the category where you think it
lits best. Be as comm and accurate as possible lf two married people are filing together, both are equally responsible for supplying correct information. lt more
space is needed, attach a separate sheet to this form. 0n the top of any additional pages, write your name and case number (if known). Answer every question.

 

n

r;ltt t: Describe Each Residence, Bui|ding, Land, or Ottler Real Estate You 0wn or Have an interest in

t 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
w No. Go to Part 2.
[l Yes. Where is the property?

 

What is the Pl’opel’ty? Check all that app|y.
Street address, if availab|e, or other D Sing|e_iam"y home

 

 

 

 

 

 

 

 

 

. t.
descnp mn l;l Duplex or multi-unit building
§ zond?m'n“;‘ or m|, ler:;ve Current value of the Current value cf the
anu adm °r mo me entire property? portion you own?
Cl Land
city State zlP code n '"Ve$""em P'°Pe"y ,
l;] T,meshare Describe the nature of your ownership interest (such g
m Omer as fee simple, tenancy by the entireties, or a Ete
C m estate), ii known.
°" V Who has an lmerest lnthe property? Check one.
C| Debtor 1 only
C] oeotor 2 only
[| Debtor 1 and Debtor 2 only Cl Check if this is community property
El At least one of the debtors and another (See lnSlNCliUnS)
' 2. Add the dollar value oi the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. write that number herra -> $°-°°

 

 

 

 

 

 

 

 

 

 

 

 

Otlicial Form 106A/B Schedule NB: Property page 1

 

 

cyabe paul Case 18-22793 TrlQ,QC 'l Filed 09/27/18 Pag%aléln@,fb§y€§i,known)

First Name Middle Name Last Name

Describe Your Vehicles

 

 

: Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehues
you own that someone else drives lt you lease a vehicle, also report it on Schedule G: Executory Conlracts and Une)qoired Leases.

: 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

D No
id Yes
3.1 Make: nissan Who has an interest in the property? Check one.
. Debtor1 only
. maxlma si w
M°de" -----_ [| oeotor 2 only
year -200-1--_- n Debmr 1 and Debmr 2 only Current value cf the Current value of the
1 Cl At least one ot the debtors and another entire property? portion you own-_,
Approximate mileage: $1.309_.¢_)9_ $1.300£9_

 

l;l Check ifthis is community property (see

Other intormation: _
instmctlons)

 

 

 

 

' 4. Watercral‘t, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

EZlNo

 

l;] Yes
` 5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
youhaue attachedtor Part 2.wrtte that number here -) _$M

 

 

 

 

Describe ¥our Personal and Househo|d items

 

' 6. l-iousehold goods and furnishings
Examples: Major appliances, turniture, linens, china, kitchenware

 

 

 

 

No
Attaoheo.
a Yes. oesorloe ........ See saso.oo
7. Electronics

Exanpbs: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music oollections;
electronic devices including cell phones, cameras, media players, games

 

NO
See Attached.
§ Yes. Describe ........ _M

 

 

 

a collectibles or value

Brampies.' Antiques and iigurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other oo|lections, memorabiiia, oollectib|es
M No

n Yes. Describe ........

 

 

 

 

 

Official Form 106A18 Schedule A/B: Ploperty page 2

 

 

Case 18-22793 DOC 1 Filed 09/27/18 Page 12 Of 46
Debtor1 Paul Turner Case number (if known)
, ,'F"S_'_Na,""° r, ,,'V,"d¢'e.,Na"‘.e _F~a$,‘"ai"‘? ,

; 9. Equipment for sports and hobbies

Examples: Sports, photographic exercise, and other hobby equipment bicycles, pool tables, golf clubs, skis; canoes and kayaks;
carpentry tools; musical instruments
M No

 

 

Cl Yes. Deson'be ........

 

 

10. Flrearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

 

MNo

Cl Yes. Describe ........

 

 

 

.`11. Clcthes
1 Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

 

No
Yes. Describe ........

 

 

 

t 12. Jeweiy
" Exampies: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, go|d, silver

 

mNo

a Yes. Describe ........

 

 

 

$100.00

 

 

;13. Non-farm animals
Examples: Dogs, cats, birds, horses

 

Mr\lo

n Yes. Describe ........

 

 

 

3 14. Any other personal and household items you did not already |ist, including any health aids you did not list

 

MNo

Cl vee. Desorlbe ........

 

 

 

15. Add the dollar value of all ot your entries from Part 3, including any entries for pages you have attached
' for Part 3. Write that number here ........................................................................................................................................ "9

Dcscribc Your Financial Assets

 

$630.00

 

 

 

 

 

16. Cash
Examples: Money you have in your wallet, in your home. in a saie deposit box, and on hand when you tile your petition
§ No
Yes ........................................................................................................................................................ Cash..............
Qilicia| Form 106A/B Schedule A/B: Property

$0-00

 

113993

Debbri Paul Case 18'22793 Tlm‘@€ 1 Filed 09/27/18 Pag%§nghtér§ifknown)

First Name Middle Name Last Name

17. Depositsofmoney

Examples: Checking, savings, or other iinancia| accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
similar institutions if you have multiple accounts with the same institution, list each.

lNo
hires ..................

institution name:

17.1. Checking account:

 

 

17.2. Checking account

 

17.3. Savings account

 

17.4. Savings account:

 

17.5. Certiiicates of deposit

 

17.6. Other financial account bank of america Account Number: 44603_;_572584

17.7. Gther financial account:

$3,000.00

 

17.8. Other financial account

 

17.9. Gther financial account

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage hrrns, money market accounts

3 No
Yes

institution or issuer name:

Turn§r §guestrian gducation grid §§gw stables llc

~ 19. Non-pub|iciy traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnershlp, and joint venture

M No

ill Yes. eive epedtio
infomtation about
them ...................

y 20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiab/e instruments include personal checks, cashiers' checks, promissory notes, and money orders.
Non-negotiable insh'uments are those you cannot transfer to someone by signing or delivering them.

MNo

l;l Yes. Give specltic
information about
them ...................

Oilicial Form 106A/B Schedule A/B: Property

 

$0.00

page 4

 

 

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DebTOl' 1 paul Turner Case number (if known) ________
First Name Middle Name Last Name

j 21. Retirement or pension accounts
Examples: interests in |FiA, ERlSA, Keogh, 401 (k), 403(b), thrift savings accounis, or other pension or profit~sharing plans

EZlNo

a Yes. List each account
separately
: 22. Securily deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlordsl prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
others

w No
m Yes .....................

: 23. Annuities (A contract for a periodic paymem of money to you, either for life or for a numberof years)

M No
[;l Yes .....................

t 24. interests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

w No
n Yes .....................

institution name and description Separately tile the records of any interests 11 U.S.C. § 521 (c):

'~ 25 Tn.lsts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
benefit

MNO

n Yes. Give specitic
information about them....

 

 

 

 

` 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lntemet domain names, websites, proceeds from royalties and licensing agreements

MNo

ij Yes. Give specific
information about them....

 

 

 

 

27. Licenses, franchises, and other general intangibles

Examples: Bui|ding perrnits, exclusive licenses, cooperative association holdings, liquor |'lcenses,
professional licenses
M No

a Yes. Give specific
information about them.... "' "

 

 

 

 

 

ry 28. Tax refunds owed to you

 

M No
n Yes. Give specific information about Federa|:
them, including whether you _--__--
already filed the retums and the State:
tax years ....................... -_--__-
Loca|:

 

 

 

Official Form 106A/B Scheduie NB: Property page 5

Debtor1 Paul Case18-22793 tir}oai1 Fi|ecl 09/27/18 Pagec;§,g}‘ngl§(,,known)

 

First Name Middle Name Last Name

` 29. Family support

Examp/es: Past due or lump sum alimony, spousal support, child support, maintenance divorce settlement property settlement

MNO

n Yes. Give specific information ..........

 

Alimony:
Maintenance:
Support:

Divorce settlement

 

 

 

30. Other amounts someone owes you

31,

Examples: Unpaid wages, disability insurance payments disability benefits, sick pay, vacation pay, workers’ compensation, Social
Security benefits; unpaid loans you made to someone else
Ed No

Property settlement

 

Cl Yes. Give speoliio information ..........

 

 

 

interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

Ml\lo

n Yes. Name the insurance OOmPanV Surrender or refund
of each policy and list its value.... Company name: Benehciary: value:

Anyinterestlnprcpertythatisdueyoufromsomeonewhohasdied

if you are the beneficiary oi a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive properly
because someone has died.

 

No
3 Yes. Give specific iriformation.......... house

 

 

 

Chlms against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidems, employment disputes, insurance claims, or rights to sue

MNo

 

l;l Yes. Describe each claim ................

 

 

 

Other contingent and unliquidated claims cf every nature, including counterclaims of the debtor and rights
to set off claims

MNo

 

n Yes. Describe each claim ................

 

 

 

Any fhancial assets you did not already list

MNo

 

L_.l Yes. Give specific information ..........

 

 

 

 

Official Form 106A/B Schedu|e NB: Property

 

 

ll…

|

$100;000.00

page 6

 

 

 

 

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Debtor1 Paul Turner Case number (,-f known)
First Name Middle Name Last Name
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

 

`, 37.

‘38.

39.

40.

41.

§ 42.

43.

`44.

45.

for Part 4. Write that number here .................................................................................................................................. -) $103,000.00

 

 

 

: Describe Any Business-Related Property You Own or Have an interest ln. List any real estate in Part1.

 

Do you own or have any legal or equitable interest in any business-related property?
l;l No. Go to Part 6.
mYes. Go to line 38.

 

Accounts rewivabie or commissions you already earned

MNo

Ei Yes. Describe ........

 

 

 

 

 

Oftlce equipment, furnishings, and supplies
Examplec: Business-related computers, software, modems, printers, oopiers, tax machines, nigs, telephones desks, chairs, electronic devices

MNo

U Yes. Describe ........

 

 

 

 

Machinery fixtures, equipment, supplies you use in business, and tools of your trade

No
desk
§ Yes. Describe ........

 

 

 

$1®.00

 

inventory

mNo

n Yes. Describe ........

 

 

 

 

interests in partnerships or joint ventures

MNQ

i;l Yes. Describe ........

Customer lists, mailing lists, or other compilations

MNQ

n Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41A))?

MN<>

El Yes. Describe........

 

 

 

 

Any business-related property you did not already list

MNQ

n Ves. Give specific
infonnation.........

 

Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that number here ................................................................................................................................. -) $100.00

 

 

 

 

 

Othcial Form 106A/B Schedule A/B: Property page 1

Debtor1 Pam Case 18-22793 millers 1 Fi|ecl 09/27/18 Pag§agez“p§,g}§,kmwn)

First Name Middle Name Last Name

    

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an interest ln.
it you own or have an Interest in farmland, listitln Partt.
' 46. Doyouownorhave any legalorequitabie interest in any farm- or commercial fishing-related property?
Muo.coropanv.
UYes. Go to line 47.

 

§ 47. Farm animals
Exampiee: Livestock, poultry, farm-raised fish

MNo

n Ves

 

 

 

 

1 48. Crops-either growing or harvested

MNQ

m Yes. Give specific
information .............

 

 

 

 

` 49. Farm and fishing equipment lmplements, machinery ftxtures, and tools of trade

w No
n Yes ..........................

 

 

 

 

50. Farm and fishing supplies, chemicals, and feed

MNo

n Yes

 

 

 

 

.' 51. Any farm- and commercial ishlng-related property you did not already list

MNQ

n Yes. Give specific
information .............

 

 

 

 

 

F 52. Add the dollar value of all of your entries from Part 6, including any entries for mges you have attached
for Part 6. Write that number here ................................................................................................................................... -) $0.00

 

 

 

 

Describe All Property You Own or Have an interest in That You Did Not List Above

 

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

MNQ

cl Yes. Give specific
infonnalion .............

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ..................................................... -) $0_00

 

 

 

Ofiiciai Form 106A/B Schedule NB: Property page 8

 

 

 

 

 

Case 18-22793 Doc 1
Debtor1 Paul Turner

 

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First Name Middle Name Last Name

-List the Totals of Each Part of this Form

 

 

 

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

, 55. Part 1 : Totai real estate, line 2 .......................................................................................................................................... -) $0_00
`56. Part erroial vehicles, lines $1,300.00
` 57. Part 3: Totai personal and household ilems, line 15 seao.oo
. 58. Part 4: Tolal financial assets, line 36 $1 03,000.00
59. Part 5: Totai business»related property line 45 $100.00
60. Part 6: Totai farm- and fishing-related property line 52 $0.00
' 61. Part 1: Totai other property not llsred, line 54 + $0.00
` 62. Totai personal property Add lines 56 through 61 .............. $105,030.00 Copy personal propertytotal-) + $105,030.00
63. Totai of all property on Schedule A/B. Add line 55 + line 62 ................................................................................................. $105,030.00
Official Form 106A/B Schedule NB: Property page 9

 

Case 18-22793 DOC 1 Fi,|ed 09/27/18 Page 19 Of 46

Debtor 1 Paul
First Name

6. Household goods and furnishings

Turner Case number (if known)
Last Name

SCHEDULE A/B: PROPERTY

Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

entertainment center / tv cabinet $50.00
kitchen table $0.00
microwave $10.00
dish washer $0.00
washiU machine $100.00
clothes dryer $100.00
bed $50.00
dresser(s) / nlghtstand(s) $20.00
lamps/accessories 50.00

l 7. Electronics

: cellular telephones $0.00
personal computer $100.00
television 1 $50.00
television 2 $50.00

 

 

 

 

 

 

 

 

 

Official Form 106A/B

Schedule NB: Property

 

Page 20 of 46

Fiil iii tl'\l§-, lnir:i;'n"iatr‘i»n ic ir‘ic.nili\_,' your case
Debtor 1 Paul
First Name Middle Name Last Name

Debtor 2
(SPOHSS, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Maryiand

Case number n Check if this is an
(if known) amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible if two married people are filing together, both are equally responsible for supplying conect lntormation. if more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).

1. Do any creditors have claims secured by your property?
El No. Check this box and submit this form to the court with your other schedules Vou have nothing else to report on this form.
Mves. l=ill in all or the information below.

List All Secured Claims
l 2. List all secured claims. lfacredifor hasrnorethan one secrred ciaim, list the creditor separately for each

ciaim. if more than one creditor has a particular ciaim, list the other creditors in Part 2. As much as possible
list the claims in alphabetical order according to the creditor’s name.

   

 

 

 

 

 

 

 

 

 

 

credit aooep;ance oescribethe property mar secureslheclalm: $3|320.00 $1.300.00 1920.00
l Creditor's Name 2007 nissan maxima Si
25505 west twelve mile rog_d
Number Street
Soulhne|d, Ml 48034 As of the date you file, the claim is: Check all that apply.
city stare zlP code E| Contlgenl
W owes the debt? Check cne. [] unlquidared
Debtor 1 only [l Disputed
goeb‘°'Z °"'y Narure or lien.cneok all rharappiy.
Demor 1 and Debmr 2 only UAn agreement you made (such as mortgage cr
CiAt least one cf the debtors and another secured car loan)
n Check if f_hlS ¢laim relates 10 3 i:.\Statutory lien (such as tax lien, mechanics iien)
commun"y debt l:i Judgment lien from a lawsuit
Date debt Wa$ incurred ElOther (induding a right to offset)
09/04/2014
, f f a . , a ,Las"‘d*g"‘ 9*@°°°““*,"“""°°"-1__1,§_1_, . ,
Add the dollar value of your entries in Co|umn A on this page. Write that number here: 7 y @220.00

Official Form 1060 Schedule D: Creditors Who Have Clalms Secured by Property page 1 of _2_

mi Paul

First Name

   

Additional Page

Case 18-22793 TJ;),QC 1

Middle Name

After listing any entries on this page, number them beginning
with 2.3, followed by 2.4, and so forth.

Last Name

 

§ Shellggint Mongaoe Servicinq

Filed 09/27/18 Pag%£éin@,fbé§¢know,,)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Describe the property that seizures the clalm: gis,ooo.oo w 19 000.00'
Creditor's Name
PO Box 10826
Number Street As of the date you file, the claim is: Check all that apply.
creenville, so 29603 UC°""gem
City slate ziP code [l Unlquidated
o owes the dean check one. Ci Disputeo
Deb‘°" °"'Y Natureor llerr. check all that apply
n Debt°' 2 only ElAn agreement you made (such as mortgage or
Cl Debtor 1 and Debtor 2 only secured car loan)
ElAt least one of the debtors and another ElStatutory lien (such as tax lien, mechanic's lien)
Eicheckllthis claim relates roa El.ludomem lien froma lawsuit
°°mm"“ity debt ClOther (inc|uding a right to offset)
Daie debt was incurred
0101H9m Last 4 digits of account number _6_ 7_ _O_
x Add the dollar value of your entries in Column A on this page. Write that number here: ___$_Q_j_gM
if this is the last page of your form, add the dollar value totals from all pages. Write that number W,L0.00
here. _______
Official Form 106D Additional Page of Schedule D: Creditors Who Have C|aims Secured by Property

page§°f§

 

 

 

Page 22 of 46

Fn`l in this lntot'ltt:;itlr:in to ltilt:zntlty your ::lse.

Debtor 1 Paul
First Name Middle Name Last Name

Debtor 2
(Spouse it filing) First Name Middle Name Last Name

 

United States Bankmptcy Court for the: Distric't of Maryiand

case number C| check il this is en
(if known) amended filing

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured C|aims lz/ls

Be as complete and accurate as possible. Use Part 1 for creditors with PRlORlTV claims and Part 2 for creditors with NONPR|ORITY claims. Llst the other party to
any executory contracts or unexpired leases that could result in a claim. Atso list executory contracts on Schedule A/B: Properiy(Oiilcial Form 106AlB) and on
Scl'led.r|e G: Execuilory Contracts and Une)q)ired Leases (Oilicial Form 1066). Do not include any creditors with partially secured claims that are listed in Schedule
D: Credmrs Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the leit. Attach
the Corrtinuatlon Page to this page. On the top of any additional pages, write your name and case number (if known).

 

: List All ot Your PRlORlTY Unsecured C|aims

 

~, 1. 3 any creditors have priority unsecured claims against you?
No. Go lo Part 2.
[;l Yes.

, 2. List allot your priority unsecured claims. lt a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
identity what type ot claim it is. lt a claim has both priority and nonpriority amounts, list that claim here and snow both priority and nonpriority amounts As much as
possible, list the claims in alphabetical order according to the creditor‘s name. lt ycm have more than two priority unsecured claims, till out the ®ntinuation Page ot
Part 1. lt more than one creditor holds a particular claiml list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

Priority Creditor's Name Last 4 digits °f a°°°um number
When was the debt incun'ed?

Number Street As of the date you file, the claim is: Check all that
apply-
|:l Contingent

City slate ziP code m U_""qu'da*ed

. [l Dlsputed

Who incurred the dehrt? Check one.

El Deblcr l only Type of PRloFtlTY unsecured claim:

C\ Debror 2 only [;\ Domestic support obligations

Cl Debtor1 and Debtor 2 only l;l Taxes and certain other debts you owe the

l;l At least one ot the debtors and another gov_emmem _ _ .

El check il this claim is rcr a community debt m %@Amc:;d€ath Of PerSOn tnlury while you were

. l o
15 th:| glalm subject to offset? n Other_ S Hy
Cl Yes

 

 

 

 

Oilicia| Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 ct 5

Filed 09/27/18 PagQ;§§nQLQQ,-,k,mw,,)

 

Case 18-22793 TD,@£: 1

Middle Name Last Name

Debtor 1 Paul
First Name

Ptitt 2' List All of Your NONPR|OR|TY Unsecured Claims

 

§ 3. Do any creditors have nonptiority unsecured claims against you?
|;] No. You have nothing to report irl this part Submit this torm to the court with your other schedules

w Yes.

4. Lietdldyournonpriorityuneecured claims inthealphabetical orderofthecreditorwho holds eachciaim. tiacreditor has more than one nonpriority
l mmred claim, list the creditor separately for each claim. For each claim listed, identity what type of claim it is. Do not list claims already included in Part 1. lt more
titan one creditor holds a particular claim, list the other creditors in Part 3. if you have more than three nonpriority unsecured claims fill out the Continuation Page ot

Part 2.

14-1 l Barciay Bank Delaware
‘ Nonpriority Creditor's Name

Last 4 digits of account number 7743
When was the debt incurred? 03/0<¥2014

 

 

J$¥f“” Street Asoilhedale you rile, the claim is= check all that apply
irrilmlngl_onl DE lssol g C°'.“'n.gem
City State ZlP Code m Unllquldated
Dis uted
Who incurred the debt? Check cne. p _
g Debtor1 only 'lype of NONPR|OR|TY unsecured clalm:
l;l Debtor 2 only m S‘udem loans

E] Debtor1 and Debtor 2 only
l:.l At least one ot the debtors and another

Ci Obligations arising out of a separation agreement or
divorce that you did not report as priority claims
n Debts to pension or protit-sharing plans, and other

 

 

 

 

m Check if this claim is for a community debt w similar debts
is the claim `ect to oifset? Other. SDeCiW

No sum credit card

`|4'2 l .9.§_°2!9! Last 4 digits of account number 5679
Nonpriority Creditor's Name When was the dam incuned? 6
§J°m:::‘ 71°848"66\ Asctlhedateycuiile,theclaim is: check all that apply
charloile, Nc 23272 g C°'_“'"_ge'“
City State ZlP Code n Unllquldated
DiS Uied

who incurred the debt? check one p
g Debtor 1 only Type of NONPR|OR|T¥ unsecured claim:
n Debtor 2 only Cl student loans

l;l Debtor1 and Debtor 2 only
l;l At least one of the debtors and another
El check ii this claim is for a community debt

ls the claim subject to ottset?
No
15 Yes

|4,3 l suntrust bank
» Nonpriority Creditor's Name

Ci Obligations arising out ot a separation agreementh
divorce that you did not report as priority claims

n Debts to pension or pront-sharing plans, and other
similar debts

EZi other. specity
credit card

Last 4 digits of account number 2833
When was the debt incurred? 03/012016

 

 

°°b‘l*3°5133 Asotthedateyourile,theclaimis:cneckaltlnatapply
Number Street U ingem

nashvillel 1N 37230 . .
city slate ziP code n U""qu'da‘ed

Cl Disputed

Who incurred the debt? Check one. _

w Debtor 1 only Type of NONPR|OR|TY unsecured claim:

l;l Debtor2 only n Studem 'Ca' 8

[] Debtor1 and Debtor 2 only
El At least one of the debtors and another
ill check it this claim is rcr a community debt

is the claim subject to offset?
No
___U Yes

Cl Ob|igations arising out of a separation agreement or
divorce that you did not report as priority claims

l:i Debts to pension or protit-sharing plans, and other
similar debts
Other. Specify
other

 

0ificial Form 106E/F

 

 

 

Schedule E/F: Creditors Who Have Unsecured C|aims

 

§] l81 0.37

s1 a,/vs`o.oo

page 2 of 5

 

 

 

Case 18-22793 DOC 1 Filed 09/27/18 Page 24 Of 46

Debtor 1 Paul Turner Case number (if known) _____________
First Name Middle Name Last Name

Your NONPR|OR|TY Unsecured C|aims - Continuation Page

 

g After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.

 

 

 

 

144 l us Deparlmem of Edu¢afi°n last 4 digits of account number ________ -_-s-?'-zg-z-L

Nonpriority Creditor's Name

Po Box 41 22 When was the debt incurred?

Number Street As of the date you file, the claim is: Check all that apply.

iowa cny' lA 52244 D contingent

City State ZlP Code [] Unllquldated

Who incurred the debt? Check cne. l:] Disputed

91 Debtor1 only 1ypeotNoNPnlcnl'rY unsecured clalm:

El Debtor 2 only 13 student loans

0 Debtor1 and Debtor 2 only l:l Ob|igations arising cut of a separation agreementh

m Al leasl one ollhe deblors and amlllel, divorce that you did not report as priority claims

n check ll this claim ls hr a community debt |:l Debts to pension or profit-sharing plans, and other
similar debts

ls the Claim Subiect 10 O‘HSEi? m Olhen Speclly

m No

 

Oilicial Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 3 ct 5

 

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Debh)r 1 Paul Turner Case number (if known)
First Name Middle Name Last Name
L-ist Others to Be Notified About a Debt That Vou A|ready Listed

 

5. Use this page only if you have others to be notified about your bankruptcy for a debtthat you alieady liswd in Parts 1 or 2. For example, if a collection
agency is trying to colhct from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then listthe collection agency here. Slmilarly,
ii you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. if you do not have additional persons
to be notified for any debts in Parts 1 or 2, do not till out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

suntrust On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Po box 305133 Line 4.3 ct (Check one): m Part 11 Creditors with Pricrity Unsecqu C|aims
Number Street w Part 2: Creditors with Nonpriority Unsecured C|aims
nashvilie, TN 37230
city State ziP code Last 4 digits of account number
dicover c c c c c c v c y v On which entry in Part 1 or Part 2 did you list theorigina| creditor?
Name
po box 71034 Line 4.2 of (Check one): n Part 1: Creditors with Pricrity Unsecured C|aims
Number S“ 991 w Part 2: Creditors with Nonpriority Unsecured C|aims
charlotie, NC 28272
City State ZlP Code Last 4 digits of account number
y midland credit c y b c 7 q l y on which entry in Parti or hart 2 did youiisttheoriginal creditors
Name ,
2355 northside dr Line 4.1 of (Check one): n Part 1: Creditors with Pricrity Unsecured C|aims §
Number Street § Part 2; creditors with Nonpriority unsecured claims : §
san diego, CA 92108
city State ZlP Code Last 4 digits of account number

` onewhich entry’ c y in Part 1 or earl 2 did you list the originai'creditor?'

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Line or (Check me); El Part 1: creditors with Pricrity unsecured claims
Number Street m Part 2: Creditors with Nonpriority Unsecured C|aims
Last 4 digits of account number
City State ZlP Code
' one which emryin Part1 or Part 2 did you iietthe original creation
Name Line or (Ched( well Cl Part 1: creditors with Pricrity unsecured claims
Number Street 0 Part 2: Creditors with Nonpriority Unsecured C|aims
Last 4 digits of account number
City State Z|P Code
7 y one which entry in Part i orPart 2 did you list the original creditors
Name line er (Che¢k one): l:l Part 1; creditors with Pricrity unsecured claims
Number street El Part 2; creditors with Nonpriority unsecured claims
Last 4 digits of account number
City State ZlP Code
one which entry in i>art 1' or 'Part2 did you list the original creditors
Name Line ____Qf (Che¢k one): n Part 1: Creditors with Pricrity Unsecured C|aims
Number Street n Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number
City State ZlP Code

 

 

Otlicial Form 106E/F Schedule E/F: Creditors Who Have Unsecured C|aims page 4 ot 5

 

 

 

Case 18-22793 Doc 1

Debtor 1 Paul Turner

First Name Middle Name Last Name

mdd the Amounts for Each Type oi Unsecured Claim

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Case number (if known)

 

7 6. Totai the amounts ot certain types of unsecured claims. This intonnatlon is for statistical reporting purposes only 28 U.S.C. §159. Add the amounts for each

type of unsecured claim.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6a. Domestic support obligations 6a. $0.00
6h. Taxes and certain other debts you owe the 6h. $0.00
government
6c. C|aims for death or personal injury while you 6¢:. $0.00
were Intoxicated
6d. Other. Add all other priority unsecured claims. 6d. $0.00
Write that amount here.
6e. Total. Add lines 6a through 6d. 6e. sum
6i. Student loans 6i. $0.00
69. Ob|igations arising out of a separation 69. $0.00
agreement or divorce that you did not report as
priority claims
6h. Debts to pension or profit-sharing plans, and 6h. $0.00
other similar debts
6i. Other. Add all other nonpriority unsecured claims. 6i. $33,551.07
Write that amount here.
6i. Total. Add lines 6f through 6i. 6i. $33’551 _07
Otlicial Form 106E/F Schedule E/F: Creditors Who Have Unsecured C|aims

page 5 of 5

Page 27 of 46

; t \`/»1`1{|! (`t“i:t

 

 

 

 

 

Debtor 1 Paul Turner
First Name Middle Name Last Name
Debtor 2
(Spouse if filing) First Name Middle Name Last Name check ar this is;
United States Bankruptcy Court for the: Distri¢,~t of Mary|and UAn amended filing
ElA supplement showing postpetition
Case number 1 - fm ~ .
w known) chapter 3 income as o e following date.
MM / DD / YYYY

Official Form 106|

Schedule |:Yourincome 12/1.=,
Be as complete and accurate as possibie. if two married people are filing together (Debior 1 and Debtor 2), both are equally responsible for supplying correct
inforrnation. if you are married and not filing jointly and your spouse is living with you, include information about your spouse. if you are separated and your

spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

-Descrit)e Employment
, . l , t 1

,1. Hiinyouremployment

 

 

 

 

 

information
if you have more than one jobl Employment status MEmpioyed m Not Employed UEmpioyed n Not Employed
attach a separate page with
information about additional equesman
employersl

Occupation
include part time, seasonai, or S'e{ emp'°Yed
wit-employed work. Employer's name

1009 woodboume ave

Occupaiion may include Sludeni Empl°ye.,s address Nu mber Street Number Street

or homemaker, if it applies.

 

 

ballimore, MD 21212
City State Zip Code City State Zip Code

How long employed there? 3 gets

-Give Details About Month|y income

Eslimate monthly income as of the date you file this form. if you have nothing to report for any line, write $O in the spaoe. include your non-tiling spouse unless you
are separated

lt you or your non~fiiing spouse have more than one employer, combine the information for all employers for that person on the lines below. if you need more spaoe,
attadt a separate sheet to this form.

 

 

 

l 2. List monthly gross wages, salary and commissions (before all payroll

 

 

deductions.) lt mt paid mmhly, cardiac what me rmmhiy wage would be. 2- mm LDQ_
3. Estknate and list monthly overtime pay 3. + wm + $Q_OO
f 4. Caicuiate gross income. Add line 2 + line 3. 4. W_oo §(_)_@

 

 

 

 

 

thcial Form 106| Schedule i: Vour income page 1

 

Debtor 1 Paul Turner number (if known)
First Name Middle Name Last Name
5. List all payroll deductions:
5a Tax, lllledleare,ancl social security deducqu 5a $°-O° $O-OO
5b. Mandarory contributions for retirement plans 5a ____M _M
50. Vo|untary contributions for retirement plans 5C_ $O-OO $O'OO
5d. Required repayments of retirement fund loans 5d_ $0-00 $0-00
5e. insurance 5e, 3000 $0-00
5f. Domestic support obligations 51_ ________WQ. _________U-.O_O_
59. Union dues 59_ ___M ___U
5h. other deductions Speclly: 5h. +L'°° +-_-L'°°
Addthe payroll deductions.AddlinesSa+Sb+Ec+Sd+Se-l&f+§g+§h. 6. $0.00 $0.00
Caicuiate total monthly take-home pay Subtract line 6 from line 4. §600.00 $0.00
List all other income regularly received:
8a Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross receipts,
ordinary and necessary business expensesl and the total monthly net income. 8a- $0-00 $0'00
8h. interest and dividends Sb_ $0_00 $O'OO
8c Famiiy support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony spousal support, child suppon, maintenance, divorce
settlement and property settlement 30_ $O-OO $O-OO
8d. Unempioyment compensation adi $O-OO $O-OO
ae. social security ae_ $0-00 $0~00
8t. Other government assistance that you regularly receive
include ash assistance and the value (if known) of any non-ash assistance
that you receive, such as food stamps (benefrts under the Supp|emental
Nutr'rtion Assistance Program) or housing subsidies.
Spec"y: 313 ______.$LO_ ________Y.-.L
89. Pension or retirement income 89- $0`00 $0'00
8h. Other monthly income. Spedfy: 8h. $O-OO + $O-OO
" 9. Add all other income. Add lines 83 + 8b + 80 + 8d + Be + 8f +89 + 8h. 9. $0.00 $0.00
§ 10. calculate monthly income Add line 7 + llne 9. ~
/ Add the entries in line 10 for Debtor1 and Debtor 2 or non-filing spouse 10_ $600.00 + §(LO£ = §600.00 g
11 . State ali other regular contributions to the expenses that you list in Schedule J.
y include contributions from an unmarried partner, members of your househoid, your dependents your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11 . + @.00
, 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
amount on the Summary of Your Asseis and Ll'abilities and Certain Statistical lnformation, if it applies 12. $600.00
Combined
morrith income
13. Do you expect an increase or decrease within the year after you tile this form?
" w No.
L__lYac. Explain:
Ofl"lcial Form 106| Schedule l: Your income page 2

Case 18-22793 Doc 1

 

 

 

 

 

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"* l/j :~';`t"l`ltll\c l,~'lllt (`.Ft~j~.r?.

Debtor1 Faul Turner
First Name Middle Name Last Name Check 'ri this is:
Debtor 2 ElAn amended llllng

(SPOUSG, if filing) First Name Middle Name Last Name l:]A Supp|emem showing postpetition
chapter 13 income as of the following date:

United States Bankruptcy Court for the: District of Maryiand

(C_>|fak:e nu;rlber Mlvl /Dc/YYYY
Own

 

 

Official Form 106J

Schedule J:YourExpenses 12/15

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct information. ii more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

-Describe Your Household

1. isthisaiointcase?

 

 

 

 

 

 

 

w No. Go to line 2.
DYes. Does Debtor 2 live in a separate househcld?
Cl No
y y g ;lYes. Debtor2y must file official Form 106J-2, Experises for Separate Household ofDebtorZ.
2. Do you have dependents? w No

Do not list Debtor 1 and - - - Dependent's relationship to Dependent's Does dependent live

Debtor1 D§§Zi§!§SSSZS.'.TT?TT?‘_'°"*°' Debwm'f>ebi°rz se wmlvw'-'

Do not state the dependents names. [l No
DVes
EI No
L__]Yes
[] No
C|Yes
Cl No
[] Yes
[l Nc

a UY<§

` 3. Do your expenses include expenses mNo
of people other than yourself and []Yes
Y°“'l d,°al°°',‘d°",*s'~’a , ,

-Estimate Your Ongoing Monthly Expenses

Eelimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after l
1 the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 

l include expenses paid for with non-cash government assistance it you know the value of
such assistance and have included it on Schedule I: Your income (Oflicia| Form 106|.)

 

b 4. The rental or home ownership expenses for your residence. include tirst mortgage payments and any rent for the
` ground or lot. 4- $560-0°

 

ii not included in line 4:

4a. Fieai estate taxes 4a $O'Oo
4b. Property, homeowner’s, or renter‘s insurance 4b' ______M
4c. Home maintenance, repair, and upkeep expenses 4C' ______M
4d. Homeowner‘s association or condominium dues 4d' $0.00

Ofliclal Form 106J Schedule J: Your Expenses page 1

 

 

 

 

Debtor 1 Paul

: 10.

11.

12.

f 13.
i 14.

, 15.

` 16.

' 17.

' 18.

' 19.

OiticlaiForm 1 OGJ

Case 18-22793 Doc 1

Turner

First Name Middle Name Last Name

Additionai mortgage payments for your residence, such as home equity loans
Utilities:

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phonel intemet, sate||iie, and cable services

6d. Other. Speciiy: Other utilities
Food and housekeeping supplies

Childcare and children's education costs

Ciothing, laundry and dry cleaning

Persona| care products and services

Medical and dental expenses

Transportation. include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitab|e contributions and religious donations

insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. l_ife insurance

15b. Heaith insurance

15ch Vehicle insurance

15d. Other insurance. Speciiy:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Speciiy:

installment or lease payments:

 

17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Speciiy: Other Paymerris

17d. Other. Speciiy: Flecreational Vehicle

Your payments of alimony maintenance, and support that you did not report as deducted
from your pay on line 5, Schedule l, Your Income (Ofiicial Form 106|).

Other payments you make to support others who do not live with you.
Speciiy:
Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

 

20a Mongages on other propeny

20b. Fieal estate taxes

200. Property homeowners or remer‘s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner’s association or condominium dues

Fi|ecl 09/27/18 Page 30
Case

 

Of 46

number (if known) _____________

6b.
60.

10.

11.

12.

13.

14.

15a.
15b.
150.
15d.

16.

17a.
17b,
17c.
17d.

18.

19.

Y§§§§

 

$0.00
$0.00
$0.00
$0.00

 

 

 

 

$175.00

 

 

 

 

 

 

 

 

$0.00
$0.00
$171 .00
$0.

 

 

 

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$461.

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$O.
$0.00

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$0.00
$O.

 

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8

 

$O.

8

 

 

 

' Schedule J: Vour Expenses

 

Debtor1 Paut Case 18-22793 TD@C 1 Filed 09/27/18 PagQ:§éth‘ttétQif/mown)

First Name Middle Name Last Name

 

, 21. Other. Speciiy: 21. + $0_00

 

` 2. Calculate your monthly expenses

 

 

22a Add lines 4 through 21 . 22a $2,092.00
22b. Copy line 22 (monthiy expenses for Debtor 2), it any, from Official Form 106J-2 22b. $0-00
22c. Add line 22a and 22b. The result is your monthly expenses 22c. $2,092.00

_ 23. Calculate your monthly net income.

y 23a Copy line 12 (ycur combined monthly income) from Schedule I. 23a $690-00
23b. Copy your monthly expenses from line 22a above. 23b' ~ $2,092.00
23a Subtract your monthly expenses from your monthly income.

The result is your monthly net income. 23c. _'__W)_

 

 

 

24. Doycuexpectanincreaseordecreaseinyourexpemeswithintheyearafteryoufilethisfonn?

For example, dc you expect to iinish paying for your car loan within the year or do you expect your
mortgage paymem to increase cr decrease because of a moditicaticn to the terms cf your mcngage?

EdNo.
DYes.

NOne

 

Otlicia| Form 106J Schedule J: Vour Expenses page 3

 

 

 

Page 32 of 46

Fiii in tries ini\i),"matrwi to lii:.»i\niii‘».-' your base
/ .Y

Debtor 1 Paul
First Name Middle Name Last Name

Debtor 2
(Spouse, ii filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Maryiand

case number El check ii this is an
(if known) amended filing

 

 

Official Form 1OSDec

Declaration About an individual Debtor's Schedules ms
if two married people are filing together, both are equally responsible for supplying correct information.

 

You must tile this form whenever you file bankruptcy schedules or amended schedules Making a false statement concealing property or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment tor up to 20
years, or both. 18 U.S.C. §§152, 1341, 1519, and 3571.

-Sign Beiow

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

n Nc
mYes. Name of person iivansl Dal|as Xavier . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
(O#icial Form 119).

 

Under penalty of perjury l declare that l have read the summary and schedules filed with this deciaraion and that they are true and correct.

X /stlT\X<\ M; ”'""“"`" ._é~/:/M

PaulTumer Mtori, Debton \ . >

 

~`\_
t
Date 09/26/2018 Date_.....____._
Mlvl/ DD/ YVYV MM/ DD/ YYVY

Official Form tOBDec Declaration About an individual Debtor's Schedules

Case 18-22793 DOC 1 Filed 09/27/18 Page 33 Of 46

    
  
   

l'l"l w title ll‘lllill'l'rlallcilll irl identify your li;:l'z;c:».

    
  

 
 

 

Debtor 1 Paul

First Name

Turner

Middle Name Last Name

    
 

  
     
 
   
 
     

Debtor 2
(Spouse. if filing) First Name Middle Name Last Name

 

 

 

 
  

United States Banknlptcy Court for the:

 

District of Maryiand

;tt“~.‘- C| check ifthis is an
amended filing

Case nunber
(if known)

 

Official Form 107

Statement 01 Financiai Affairs for individuals Filing for Bankruptcy 04/16

Be as complete and accurate as possibte. ti two married people are filing together, both are equally responsible for supplying correct information. ii more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (i‘i known). Answer every question.

-Give Details About Your Marita| Status and Where You Lived Before

1. What is your current marital status?
l;t Marrled
w th married

2.Duringtheiast:iyears,haveyou|ivedanywhereotherthanwheleyouiivenow?
ii No

0 vee. List all or the pleoes you lived in the last 3 yeere. co nol include where you live now.

   
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m Same as Debtor 1 n Same as Debtor 1
From From
Number Street TO Number Street To
City State ZlP Code City State ZlP Code
n Same as Debtor 1 n Same as Debtor t
From From
Number Street TO Number Street To
City State ZlP Code City State ZlP Code

Otlicial Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 1 `

 

Case 18-22793 DOC 1 Filed 09/27/18 Page 34 Of 46

Debtor 1 Paul Turner Case number (if known)
First Name Middle Name Last Name

3. W'rthin the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territon`es
y include Arizona. Califomia, ldai'lo, Louisiana, Nevada, New Mexico, Pueno Fiico, Texas, Washington, and Wisconsin.)

MNo

n Yes. Make sure you fill out Schedule H: Your Codebtors (Ofiicial Form 106H).

: Expiain the Sources of ¥our income

 

 

1 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
; Fili in the total amount of income you received from ali jobs and ali businesses including pari-time activities
, if you are filing ajoint wise and you have income that you receive together, list it only once under Debtor 1.

Ei No
M Yes. Fill in the details

 

Sources of income Groa income Sources ct income Grom income
Check ali that apply (beiore deductions and Check ali that apply (beiore deductions and
exciusions) exciusions)
Fr°m January1 of current year mm me w Wages commissions $20 666 00 El Wages, commissions
date you filed for benrirupley: b°"uS€Bi "PS __; bonuses tips
Eloperating a business []Operating a business
For last calendar year: m Wages, commissions $31 000 [;.l Wages, commissions
(.ranuaiy 1 to Deoember 31, 2017 l b°““$%» "PS ---’--99 b°"“$es» “PS
YYYY []Operating a business DOperating a business
For the calendar year before that: w Wages, commissions $18 000 00 El Wages, commissions
(January 1 to December 31, 2016 ) bonuses’ t'ps _* b°nuses' nps

YvYY []Operating a business []Operating a business

§ 5. Did you receive any other income during this year or the two previous calendar years?

' include income regardless of whether that income is taxabie. Exampies of other income are aiimony; child suppon; Social Securiiy, unemployment and other public benefit
§ payments pensions; rental income; interest; dividends; money collected irorn lawsuits; royalties and gambling and lottery winnings. if you are filing ajoint case and you

j have income that you received together, list it only once under Debtor 1.

Mno

D Yes. Fili in the details

 

Sources of income Grou income from each Sources ci income Gross income from each
Describe below. °°""°° pauline below. °°“""°
(before deductions and (before deductions and
exciusions) exclusions)

From January 1 of current year until the
date you filed for bankruptcy:

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2

Case 18-22793 DOC 1 Filed 09/27/18 Page 35 Of 46

Debtor 1 Paul Turner Case number (if known)
First Name Middle Name Last Name

 

For last calendar year:

(January 1 to December 31, 2017 )
vav

 

 

 

For the calendar year before that:

(Januaryt to December 31, 2016 )
YYYY

 

 

 

-List Certain Payments You Made Before You Filed for Bankruptcy

t 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
l;] No. Neither Debtor 1 nor Debtor 2 has primarin consumer debts. Consumerdebts are defined in 11 U.S.C. § 101 (8) as “incun'ed by an
individual primarily for a personai, family or household purpose."
During the 90 days before you filed for bankruptcy did you pay any creditor atotai ot $6,425* or rncre?

l;lNc. Go to line 7.

DYes. L.ist below each creditor to whom you paid a total ot $6,425* or more in one or more payments and the total amount you paid that
creditor. Do not include payments for domestic support obligations such as child support and alimony Alsol do not include
payments to an anomey for this bankruptcy case

* Subject to adjustment on 4/01/19 and every 3 years atterthat for cases filed on or after the date of adjustment

MYes. Debtor 1 or Debtor 2 or both have primarily consumer debts
During the 90 days before you tiied for bankruptcy did you pay any creditor atotai ct $600 or mcre?

MNo. Go to line 7.

l;l¥es. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not induce
payments for domestic support obligations such as child suppon and alimony Aiso, do not include payments to an attorney for

 

 

 

 

 

this bankruptcy case.

[] Morigage

Creditor's Name n Car
Dcredii card

Number Street n Loan repayment

______ Cl Suppiiers or vendors

ElOther

City State ZlP Code

, 7. Within 1 year before you filed for bankruptcy did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives any general panners; relatives of any general panners; pannerships of which you are a general partner; corporations of which you are an
' otiicer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
prcprietcr. 11 U.S.C. § 101 . include payments for domestic support obligations such as child support and alimony

MNo

Cl¥es. List all payments to an insider

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

 

 

Case 18-22793 DOC 1 Filed 09/27/18 Page 36 Of 46

Debtor 1 Paul Turner Case number (if known)
First Name Middle Name Last Name

 

 

lnsider‘s Name

 

Number Street

 

 

City State ZlP Code

8. Wilhin 1 year before you filed for bankruptcy did you make any payments or transfer any property on account of a debt that benefited an lnsider?
include payments on debts guaranteed or cosigned by an insider.

MNo

[]Yes. List all payments that benefited an insider.

 

 

lnsider‘s Name

 

Number Street

 

 

City State ZlP Code

: identify Legai Actions, Repossessions, and Foreclosures

 

9. Wilhin 1 year before you filed for bankruptcy were you a party in any lawsuit, court aciion, or administrative prooeedlng?
List all such matters including personal injury cases small claims actions divorces collection suits paternity actions support or custody modifications and contract

§ disputes
m No

E|Yes. Fili in the details

 

 

 

 

Case title , UPendmg
Court Name non appeal
_ []Concluded

Case number {Number Street

 

§cny state ziP code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4j

 

Case 18-22793 DOC 1 Filed 09/27/18 Page 37 Of 46

Debtor 1 Paul Turner Case number (if known)
First Name Middle Name Last Name

10. Wrthin 1 year before you filed for bankruptcy was any of your property repossessed, foreclosed, garnished, attached, seized, or |evied?
Check all that apply and fill in the details below.

MNO. Goto line 11.

[]Yes. l=ill in the information below.

 

 

 

 

 

Creditor’s Name

Number Street Em£mwha'l'happehed "_.r ;: ` f f l 1 `
El Property was repossessed.
m Property was foreclosed
[| Property was gamished.

 

city State ZlP Code [l Property was attached, seized, or levied.

11. Wfthin 90 days before you filed for bankruptcy did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
to make a payment because you owed a debt?

MNo

[]Yes. l=ill in the details

 

 

Creditor's Name

 

 

Number Street

 

City State ZlP Code _ _
Last 4 digits of account nurrber: XXXX-_ _ _ _

12. Wlthin 1 year before you filed for bankruptcy was any of your property in the possession of an assignee for the benefit of creditors a court-appointed
receiver, a custodian, or another official?

mNo

C|Yes

List Certain Gifts and Contributions

 

 

13. Wilhin 2 years before you filed for bankruptcy did you give any gifts with a total value of more than $600 per person?

MNo

ElYes. Fill in the details for each glit.

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

 

 

 

 

Case 18-22793 D001 Filed 09/27/18 Page 38 of 46
Debtor 1 Paul Turner Case number (if known)
f First Name Middle Name Last Name

     

 

    

 

Person to Whom You Gave the Gift

 

 

 

 

Number Street

 

City State Z| P Code

Person’s relationship to you

14. Wilhin 2 years before you filed for bankruptcy did you give any gifts or contributions with a total value of more than $600 to any charity?

MNo

C|Yes. Fill in the details for each girl or contribution

 
  

 

 

Charity’s Name

 

 

 

 

Number Street

 

City State ZlP Code

-List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy did you lose anything because of theft, fire, other disaster, or gambling?
EZI No

DYe-e. Fili in the details

 
 

 

'Ofiicial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

Case 18-22793 DOC 1 Filed 09/27/18 Page 39 Of 46

Debtor 1 Paul Turner Case number (if known)
First Name Middle Name Last Name

-List Certain Payments or Transfel's

 

16. Within 1 year before you filed for bankruptcy did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
asking bankruptcy cr preparing a bankruptcy petition?
include any attomeys, banknlptcy petition preparers, or credit counseling agencies for sen/ices required in your bankruptcy

mNo
DYes Fill in the details

 

 

Person Who Was Paid

 

 

Number Street

 

 

 

City State ZlP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNo

C|Yes l=ill in the details

 

 

Person Who Was Paid

 

 

Number Street

 

 

 

City State ZlP Code

18. Within 2 years before you filed for bankruptcy did you seli, trade, or otherwise transfer any property to anyone, other than property transferred in the
ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).

Do not include gifts and transfers that you have already listed on this statement.

mNo

ElYes Fill in the details

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Debtor 1 Paul Turner Case number (if known)
First Name Middle Name Last Name

  
 

   

 

Person Who Fteceived Tran'sfer

 

Number Street

 

 

City State ZlP Code

Person's relationship to you

 

19. Within 10 years before you filed for bankruptcy did you transfer any property to a seif-settled trust or similar device of which you are a beneficiary?(These are
often called asset-protection devices.)

MNo

C|Yes l=ill in the details

 

Name cftrust

 

 

-List Certain Financial Accounts, instruments Safe Deposit Boxes, and Stoiage Units

20. Within 1 year before you filed for bankruptcy were any financial accounts or instruments held in your name, or for your benefit, closed, soid, moved, or

transferred?
' include checking, savings money market, or other financial accounts; certificates of deposil; shares in banks credit unions brokerage houses pension funds

cooperatives associations and other financial institutions

MNO

C|Yes. Fili in the details

 

 

Name of Financial institution

 

XXXX- __ __ ._ __ C|Checking
DSavings
Number Street UMOney market

 

[:_|Brokerage
I;]Other

 

 

City State ZlPCode

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Debtor 1 Paul Turner Case number (if known)
First Name Middle Name Last Name

21. Do you now have, or did you have within 1 year before you filed for bankruptcy any safe deposit box or other depository for securities cash, or other
valuables?

MNo

C|Yes Fill in the details

 

 

 

 

 

 

Name of Financial institution Name UYeS
Number Street Number Street

City State ZlP Code
City State ZlP Code

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
M No

[lYes l=ill in the details

 

 

 

 

 

 

Name of Sttorage Facility Name n Yes
Number Street Number Street

City State ZlP Code
City State ZlP Code

identify Property You Hold or Contiol for Someone Else

 

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for, or hold in trust for someone.
Ed No

C|Yes. Fili in the details.

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Debtor 1 Paul Turner Case number (if known)
First Name Middle Name Last Name

 

 

Owner‘s Name Number Street

 

Number Street

 

City State ZlP Code

 

 

City State ZiPCode

Give Details About Environmental information

For the purpm of Part 10, the following definitions apply:

.Environmental law means any federal state or local statute or regulation conceming pollution, contamination, releases of hazardous or toxic substances wastes

or material into the air, land soil surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances
wastes or material.

l Site means any location, facility or property as defined under any environmental law, whether you now own, operate, or utilize it cr used to own, operate, or utilize it,
including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic su bstance. hazardous material, poilulant,
contaminant or similar term.

Report all notices, releases and proceedings that you know about, regardless of when they occurred.

24. i-las any govemmenta| unit notified you that you may be liable or potentially liable under or in violation of an environmental law'?
Ed No

DYes. Fili in the details

 

 

 

 

 

Name of site Govemmental unit
Number Street Number Street

City State ZlP Code
City State ZlP Code

25. Have you notified any governmental unit of any release of hazardous material?
m No

DYes. Fili in the details

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Debtor 1 Paul Turner Case number (if known)
First Name Middle Name Last Name
Name of site Govemmental unit
Number Street Number Street
City State Z|PCode

 

City State ZlP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

mNo

C|Yes. Flll in the details

 

Case title Upending
Court Name
L__lOn appeal
l;]Concluded

 

 

 

Number Street

 

 

Case number
City State ZlP Code

-Give Details About Your Business or Connections to Any Business

, 27. Within 4 years before you filed for bankruptcy did you own a business or have any of the following connections to any business?

 

M A sole proprietor or self-employed in a trade, protession, or other activity, either tull-time or pan-time
t’;] A member of a limited liability company (LLC) or limited liability partnership (LLP)
l;l A partner in a partnership
Cl An otticer, director, or managing executive ot a corporation
l;l An owner of at least 5% of the voting or equity securities of a corporation
l;lNo. None ot the above applies. Go to Part 12.
MYes. Check all that apply above and till in the details below for each business

    

turner guestnan edu & show stables llc . '
Name ,

 

1009 woodboume §_ve
Number Street

 

From _____ To

baltimore MD 21212
my stale zlP code

 

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Debtor 1 Paul Turner Case number (if known)
First Name Middle Name Last Name

' 28. Within 2 years before you filed for bankruptcy did you give a financial statement to anyone about your business? include all financial institutions, creditors,

 

or other parties.
EZ\ No
ElYes. Fill in the details below.
Name MM l DD / VYVY

 

Number Street

 

 

cry y y slate zchode

l have read the answers on this Statement of Financial Affairs and any attachments and l declare under penalty of perjury that the answers are true and
correct. l understand that making a false statement, concealing property or obtaining money or property by fraud in connection with a bankmptcy case
can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 
 

"""--~.__ /s/ Paul Turner X
Signatt…\reof.@ly umer, DeW Signatureof

Date 09/26/2018 Date

X

 

Did you attach additional pages to your Statement of Financial Affairs for lndividuals Filing for Bankruptcy(Official Form 107)?

 

m Nc
1;|Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
El No
_ Attach the Bankruptcy Petittbn Preparer's Notice,
, @Yesz Name °* Pe'$,°f‘ M Xt“¢*, , . ,` \, . c ., , a , , c . o , oec/arant and $/'Qnawre <Officla' Fo"nttg)_.-

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olsrnlcT oF MAnYLAND

BALTlMORE DlVlSlON
lN Fth Tumer, Paul CASE NO

CHAPTER 13

VER|FICAT|ON OF CRED|TOR MATR|X

The above named Debtor hereby verifies that the attached list of credit i tnle and correct to the best of his/her knowledge

  
 
   

Date 09/26/2018 SignatUl’e“~~--~ -~..~.._ /s/ Paul Tumer

§ Pa“'T“'"e'-@:':,I\

 

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Barclay Bank Delaware
100 wets st
wilmington, DE 19801

credit acceptance
25505 west twelve mile road
southfie|d, MI 48034

dicover
po box 71084
charlotte, NC 28272

midland credit
2365 northside dr
san diego, CA 92108.

She|lpoint Mortgage Servicing
PO Box 10826
Greenville, SC 29603

suntrust
po box 305183
nashville, TN 37230

suntrust bank
po box 305183
nashville, TN 37230

US Deparl:ment of Education
Po Box 4122
lowa City, IA 52244

